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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION Da~.n'd J. E:E.:.'iey, Cic:k
UNITED STATES OF AMERICA §
v. § Criminal No. M-l6-1156
CYNTHIA LUNA RODRIGUEZ §

NOTICE OF PLEA AGREEMENT
COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its United States Attomey for the Southern District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the

Government and the Defendant have entered into the following plea agreement

1. Defendant agrees:
a. to plead guilty to Counts Two, Five and Seven of the Indictment;
b. in exchange for the benefits extended to the Defendant by the Government

in this plea agreement (as listed below in Section 2 of this plea agreement),
the Defendant agrees, pursuant to 18 U.S.C. § 3663(a)(3), to make full
restitution to the following named victims:

 

 

 

 

 

 

 

Name of Restitution
Victim Amount
B. J. $26,087.00
O. H. $27,064.47
C. H. $340,657.49
PlainsCapital $71 1 ,088.08
Bank

 

 

The Defendant agrees that 18 U.S.C. § 3663(a)(3) gives rise to this plea
agreement The Defendant understands that the Court, pursuant to 18 U.S.C.
§ 3663(a)(1)(A), may order the Defendant to make restitution beyond what
is stated m this plea agreement and that the Couit is not bound by this plea
agreement; and

c. a personal money judgment against her and in favor of the United States for
an amount to be determined by the Court.

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2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3El . l(a)
if the defendant clearly demonstrates acceptance of responsibility; and

b. that the remaining counts of the indictment be dismissed at the time of
sentencing

If the Defendant is not a citizen of the United States of America, a plea of guilty may result
in removal from the United States, denial of citizenship and denial of admission to the United
States in the future.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises

or threats been made in connection with this plea.
ACKNOWLEDGMENTS:

l have read this agreement and carefully reviewed every part of it with my attorney. If 1
have difficulty understanding the English language, I have had a person fluent in the Spanish
language interpret this agreement to me.

Date: /_5 7 Defendant:

I am the Defendant's counsel I have carefully reviewed every part of this agreement with

the Defendant I certify that this agreement has been translated to my client by a person fluent in

the Spanish language if my client is unable to read or has difficulty understanding the English

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language

Date:/5 ~» e , /vf\ /°\M@

Counsel for Defense
For the United States of Arnerica:

RYAN K. PATRICK v
`te ates Attorney

 

Jos T. Leonard
Ass ant United States Attorney

APPROVED BY:

fc/ lan/ies H. S
Assistant ed Stat Attorney in Charge

